                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
JANET HILL,                         )
                                    )
    Plaintiff,                      )
                                    )    CIVIL ACTION FILE
v.                                  )    NO. 1:21-cv-03750-WMR
                                    )
COMMUNITY LOAN SERVICING f/k/a )
BAYVIEW LOAN SERVICING, and         )
SHELLPOINT MORTGAGE                 )
SERVICING,                          )
                                    )
    Defendants.                     )
                                    )
     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
          MOTION TO DISMISS PLAINTIFF’S COMPLAINT

      COMES NOW Defendants Community Loan Servicing f/k/a Bayview Loan

Servicing (“Bayview”) and NewRez, LLC d/b/a Shellpoint Mortgage Servicing

(“Shellpoint” and collectively “Defendants”), and submit this memorandum in

support of their Motion to Dismiss Plaintiff Janet Hill’s (“Plaintiff”) “VERIFIED

PETITION TO REMOVE CLOUD FROM TITLE” (“Complaint”) pursuant to Fed.

R. Civ. P. 12(b)(6) for failure to state a claim upon which relief may be granted.

       I.   STATEMENT OF FACTS AND PROCEDURAL HISTORY

      This is at least the thirteenth frivolous action filed by Plaintiff in an attempt

to avoid the consequences of her default on a home loan. While the Complaint may

appear different on its face, Plaintiff nonetheless alleges the same or substantially
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similar claims against identical defendants or their privies as she has alleged in her

previous twelve lawsuits. Plaintiff’s spurious and vexatious claims against

Defendants and others have previously been dismissed with prejudice and

recognized as meritless by this Court, the Eleventh Circuit Court of Appeals, the

United States District Court for the Southern District of Florida, the Fulton County

Superior Court, the Georgia Court of Appeals, the United States District Court for

the Southern District of Iowa, and the Eighth Circuit Court of Appeals. Plaintiff’s

instant Complaint should be dismissed in its entirety with prejudice on the basis of

res judicata and/or collateral estoppel alone.

      On October 6, 2005, Plaintiff pledged the real property at issue in this case,

543 Auburn Avenue, Atlanta, Georgia (“Property”) as collateral pursuant to a

Security Deed she executed in favor of Mortgage Electronic Registration Systems,

Inc. (“MERS”), solely as nominee for America Wholesale Lender (“AWL”), its

successors and assigns (“Security Deed”). [Doc. 1-1, pp. 1-2]. The Security Deed

secured a $464,000.00 loan (“Loan”). [Doc. 1-1, pp. 1-2]. The Security Deed was

assigned to The Bank of New York Mellon FKA The Bank of New York, as trustee

for the certificateholders of CWALT, Inc. Alternative Loan Trust 2005-58,

Mortgage Pass-Through Certificates, Series 2005-58 (“BNYM”) (“Assignment”).



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[Doc. 1-1, pp. 1-2]. Bayview service released this Loan to Shellpoint on or about

February 1, 2020.

       The following is a brief summary of the actions Plaintiff has pursued against

Defendant and its predecessors in interest in various courts over the past decade:

    1. On July 29, 2011, Plaintiff filed a Complaint against Defendants’ predecessor

       in interest, Bank of America, Inc., in the Superior Court of Fulton County,

       Georgia (Civil Action No. 2011CV203839) (“Hill #1). Bank of America

       removed the Hill #1 matter to the United States District Court for the Northern

       District of Georgia, Atlanta Division (Civil Action No. 1:11-cv-02991-JOF).

       Plaintiff argued that despite her default on her Loan, she should not be subject

       to foreclosure proceedings. On February 28, 2012, Judge Forrester entered an

       Order dismissing the case with prejudice. Plaintiff appealed the final order to

       the Eleventh Circuit Court of Appeals, which affirmed on March 12, 2013.

       (True and correct copies of these pleadings are attached hereto as Exhibit 1.)1




1
 This Court can take judicial notice of public records without converting this motion
to one for summary judgment. See Bryant v. Avado Brands, Inc. 187 F.3d 1271,
1278 (11th Cir. 1999); Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308,
355, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007); Mcfarland v. BAC Home Loans Serv.,
LP, No. 1:11–cv–4061–RWS, 2012 WL 2205566, at *1 n. 2 (N.D.Ga. June 14,
2012); Lawson v. Ocwen Loan Servicing, LLC, No. 1:14-CV-1301-WSD, 2015 WL
881252, at *1 (N.D. Ga. Mar. 2, 2015).
                                                                                     3
2. On July 30, 2012, Plaintiff filed a second Complaint against BNYM, MERS,

  Bank of America, N.A., successor by merger to BAC Home Loans Servicing,

  LP f/k/a Countrywide Home Loans Servicing, LP (“BANA”) and

  Countrywide Home Loans, Inc. (“Countrywide”). The action was filed in the

  Superior Court for Fulton County, (Civil Action No. 2021-CV-218864), after

  which defendants again removed the case to federal court. (Civil Action No.

  1:12-cv-04344-WSD) (“Hill #2”). Again, Plaintiff asserted various

  allegations related to her mortgage Loan in an attempt to avoid foreclosure.

  This matter was voluntarily dismissed by Plaintiff on June 12, 2013. (True

  and correct copies of these pleadings are attached hereto as Exhibit 2.)

3. On March 1, 2013, Plaintiff filed a third Complaint for Declaratory and

  Injunctive Relief against AWL, MERS, and BNYM. The action was filed in

  the Superior Court for Fulton County, (Civil Action No. 2013CV228015),

  after which defendants again removed the case to federal court. (Civil Action

  No. 1:13-cv-03159-WSD) (“Hill #3”). Again, Plaintiff asserted various

  allegations related to her mortgage Loan in an attempt to avoid foreclosure.

  Plaintiff voluntarily dismissed this matter on February 13, 2014. (True and

  correct copies of these pleadings are attached hereto as Exhibit 3.)



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4. On February 24, 2014, only eleven days after her last voluntary dismissal,

   Plaintiff filed a fourth Complaint for Damages against Bayview, AWL,

   BNYM, MERS, and Shuping Morse & Ross, LLP. The action was filed in the

   Superior Court for Fulton County, (Civil Action No. 2014CV242753) (“Hill

   #4”). On June 4, 2014, Judge Wright dismissed Plaintiff’s action on the basis

   of res judicata and/or collateral estoppel, noting that Plaintiff had already filed

   three prior actions involving the same and/or related entities arising out of the

   same set of facts and circumstances. Plaintiff appealed that dismissal to the

   Georgia Court of Appeals (Civil Action No. A15A1118) which dismissed the

   appeal for failure to file a brief on March 30, 2015. (True and correct copies

   of these pleadings are attached hereto as Exhibit 4.)

5. On March 27, 2014, Plaintiff filed another complaint in the Northern District

   of Georgia (Civil Action No. 1:14-cv-00882-TWT) (“Hill #5”), against the

   identical defendants named in Hill #4. Again, Plaintiff asserted various

   allegations related to her mortgage Loan in an attempt to avoid foreclosure.

   Upon filing of Plaintiff’s Complaint in the district court construed Plaintiff’s

   Complaint as a motion for temporary restraining order. Judge Totenberg

   issued an order denying Plaintiff’s request for injunctive relief on March 27,



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   2014, and then Plaintiff voluntarily dismissed the case on April 28, 2014.

   (True and correct copies of these pleadings are attached hereto as Exhibit 5.)

6. Plaintiff filed her sixth action (“Hill #6”) against Bayview, BNYM, MERS,

   BANA, and a string of individually named defendants in this federal court on

   May 23, 2014 (Civil Action No. 1:14- cv-01577-TWT), less than 30 days after

   voluntarily dismissing Hill #5. Upon filing of her sixth action, the district

   judge recognized the spurious nature of Plaintiff’s actions and granted

   Defendants’ motion to dismiss on March 27, 2014, specifically ruling that it

   was barred by res judicata. Plaintiff appealed that order to the Eleventh Circuit

   Court of Appeals, which dismissed the appeal on October 29, 2014, based on

   Plaintiff’s failure to file required documents. (True and correct copies of these

   pleadings are attached hereto as Exhibit 6.)

7. Plaintiff filed her seventh action against Bayview on April 24, 2015, in the

   Superior Court for Fulton County, (Civil Action No. 2015CV260050) (“Hill

   #7”), once again challenging the relevant Loan and attempted foreclosure sale.

   After Bayview filed its dispositive motion, Plaintiff yet again voluntarily

   dismissed the case on June 22, 2015. (True and correct copies of these

   pleadings are attached hereto as Exhibit 7.)



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8. Perhaps seeing the Georgia courts as a dead-end, Plaintiff filed nearly

   identical claims against Bayview and BNYM in the United States District

   Court for the Southern District of Florida (Civil Action No. 1:15-cv-21621-

   RNS) (Hill #8). Referring to the action as “one of many in Hill’s landslide of

   litigation” the district judge there found that the complaint “presented nothing

   new” and was barred by res judicata on August 31, 2015. Plaintiff appealed

   that order to the Eleventh Circuit Court of Appeals, which again was

   dismissed for failure to file a brief on January 5, 2017. (True and correct

   copies of these pleadings are attached hereto as Exhibit 8.)

9. Plaintiff filed her ninth action against Bayview, various law firms, MERS,

   Specialized Loan Servicing LLC and BNYM on April 27, 2016, in the

   Superior Court for Fulton County (Civil Action No. 2016CV274425) (“Hill

   #9”), once again challenging the relevant Loan and attempted foreclosure sale.

   After Bayview filed its dispositive motion, the Plaintiff yet again voluntarily

   dismissed the case on June 20, 2018. (True and correct copies of these

   pleadings are attached hereto as Exhibit 9.)

10.Plaintiff filed her tenth action against AWL and all others claiming an interest

   in the property, on March 23, 2018, in the Superior Court for Fulton County

   (Civil Action No. 2018CV302813) (“Hill #10”), once again challenging the

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   relevant Loan and attempted foreclosure sale. On July 2, 2019, the Court

   granted a BANA entity’s Motion to Dismiss and dismissed the case with

   prejudice. Plaintiff then appealed that Order to the Georgia Court of Appeals,

   and the Georgia Court of Appeals affirmed on September 1, 2020. (True and

   correct copies of these pleadings are attached hereto as Exhibit 10.)

11.Plaintiff filed her eleventh action against Bayview and a law firm on August

   29, 2018, in the Superior Court for Fulton County (Civil Action No.

   2018CV309704) (“Hill #11”), once again challenging the relevant loan and

   attempted foreclosure sale. On July 2, 2019, the Court issued an order denying

   Plaintiff’s request for injunctive relief and also granted Bayview’s Motion to

   Dismiss and dismissed the case with prejudice as to Bayview. Plaintiff then

   appealed that Order to the Georgia Court of Appeals, but then voluntarily

   dismissed her appeal on June 25, 2021. (True and correct copies of these

   pleadings are attached hereto as Exhibit 11.)

12.On June 1, 2020, filed her twelfth action against Bayview, AWL, BANA, and

   BNYM in the United States District Court for the Southern District of Iowa

   (Civil Action No. 4:20-cv-00171-RGE-CFB) (Hill #12), asking the Court

   confirm and enforce a frivolous arbitration award she allegedly won against

   Defendants. The Court granted the various Defendants dispositive motions on

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      August 20, 2020, and held that “Hill fails to allege sufficient facts to plausibly

      establish the parties entered into an agreement to arbitrate or that any

      agreement encompassed the dispute at issue.” Plaintiff appealed the final

      order to the Eighth Circuit Court of Appeals, which affirmed on June 9, 2021.

      (True and correct copies of these pleadings are attached hereto as Exhibit 12.)

(collectively “Prior Lawsuits”).

      The present action was filed on August 2, 2021. Undaunted by her complete

lack of success in the previous twelve lawsuits, Plaintiff yet again makes the same

tired claims about her Loan. Each of the theories underlying her claims are rooted in

the origination or transfer of her Loan that has been adjudicated against Plaintiff

numerous times. Plaintiff’s claims have no merit, as various courts have already

recognized in the Prior Lawsuits. The Complaint is an attempt to stall foreclosure

proceedings; however, Plaintiff’s claims fail as a matter of law. Plaintiff should not

be allowed to continue to abuse the judicial system merely for delay. This Complaint

should be dismissed with prejudice and/or judgment be granted to Defendant.

                         II.   STANDARD OF REVIEW

      Rule 12(b)(6) permits dismissal of a complaint for “failure to state a claim

upon which relief can be granted.” In ruling on the pending motion to dismiss, all

of the well-pleaded factual allegations in the Complaint must be accepted as true and

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construed in the light most favorable to Plaintiff. See Young Apartments, Inc. v.

Town of Jupiter, 529 F.3d 1027 (11th Cir. 2008). However, “unsupported

conclusions of law or of mixed fact and law have long been recognized not to prevent

a Rule 12(b)(6) dismissal.” Marsh v. Butler County, Ala., 268 F.3d 1014 (11th Cir.

2001). Thus, a claim will survive a motion to dismiss only if the factual allegations

in the pleading are enough to raise a right to relief above the speculative level.

      “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not

need detailed factual allegations, a plaintiff’s obligation to provide the grounds of

his entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007) (citations and quotations omitted). More

specifically, “a complaint must contain sufficient factual matter, accepted as true, to

state a claim to relief that is plausible on its face. A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

129 S. Ct. 1937, 1949 (2009) (quotation omitted). To survive a Rule 12(b)(6)

motion, “the plaintiff’s factual allegations, when assumed to be true, ‘must be

enough to raise a right to relief above the speculative level.’” United Techs. Corp.

v. Mazer, 556 F.3d 1260, 1270 (11th Cir. 2009) (quoting Twombly, 550 U.S. at 555).

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          III.    ARGUMENT AND CITATION OF AUTHORITIES

   A. Plaintiff’s Claims Are Barred By The Doctrine Of Res Judicata.

      Plaintiff has brought at least twelve lawsuits to stop the non-judicial

foreclosure sale of the Property. Plaintiff’s suits have all failed. In the Prior Lawsuits,

Plaintiff filed claims against Defendants and their predecessors in interest attempting

to set aside the Loan, the Security Deed, the Assignment, and any foreclosure sales

of the Property. [Exs. 1-12]. Numerous of these Prior Lawsuits were dismissed with

prejudice and found in the various banking entities favor. [Exs. 1-12].

       “Under Eleventh Circuit precedent, a claim will be barred by prior litigation

if all four of the following elements are present: (1) there is a final judgment on the

merits; (2) the decision was rendered by a court of competent jurisdiction; (3) the

parties, or those in privity with them, are identical in both suits; and (4) the same

cause of action is involved in both cases.” Ragsdale v. Rubbermaid, Inc., 193 F.3d

1235 (11th Cir. 1999). The res judicata doctrine “protects a party’s adversaries from

the expense and vexation attending multiple lawsuits, conserves judicial resources,

and fosters reliance on judicial action by minimizing the possibility of inconsistent

decisions.” Id. (alts. and cits. omitted). “Res judicata bars the filing of claims which

were raised or could have been raised in an earlier proceeding.” Id. (emph. added).



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      As referenced above, there is no question that the various Court’s dismissals

of the Prior Lawsuits constitute prior final judgments on the merits. The Courts are

also ones of competent jurisdiction, and the Prior Lawsuits involved both Plaintiff

and Defendants and their predecessors in interest. The only issue is whether “the

same cause of action is involved in both cases.” Here, they are. In this Circuit, “the

principal test for determining whether the causes of action are the same is whether

the primary right and duty are the same in each case. In determining whether the

causes of action are the same, a court must compare the substance of the actions, not

their form.” Ragsdale, 193 F.3d at 1239. “It is now said, in general, that if a case

arises out of the same nucleus of operative fact, or is based upon the same factual

predicate, as a former action, that the two cases are really the same claim or cause

of action for purposes of res judicata.” Id.

      Here, Plaintiff’s claims in the Complaint arise from Defendants’ conduct in

connection with servicing the Loan at issue in this case, and Plaintiff’s failure to

meet her Loan obligations. Though she makes some new allegations here, she could

have made these in the numerous Prior Lawsuits as they relate to the same common

nucleus of facts in the Prior Lawsuit. This Complaint contains no new allegations

for any conduct by Defendants which could give rise to a new claim. Accordingly,

this Court should dismiss the Complaint with prejudice.

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   B. Plaintiff’s Complaint is Barred By The Collateral Estoppel Doctrine.

      Plaintiff’s Complaint is also barred by the collateral estoppel doctrine. Where

“claim preclusion does not apply to bar an entire claim or set of claims, the doctrine

of collateral estoppel, or issue preclusion, may still prevent the relitigation of

particular issues which were actually litigated and decided in a prior suit.” Data

Lease Fin. Corp., 904 F.2d at 1501; accord Pleming v. Universal-Rundle Corp., 142

F.3d 1354, 1359 (11th Cir. 1998). “Collateral estoppel, or issue preclusion,

‘recognizes that suits addressed to particular claims may present issues relevant to

suits on other claims' ... and requires that the identical issue in question was actually

litigated and necessary to the judgment of an earlier suit.” Manning v. City of

Auburn, 953 F.2d 1355, 1358 (11th Cir. 1992) (citation omitted). The “party seeking

to apply the doctrine of collateral estoppel must establish that: (1) the issue at stake

is identical to one involved in the prior litigation; (2) the issue was actually litigated

in the prior litigation; (3) the determination of the issue must have been a critical and

necessary part of the judgment in the prior litigation; and (4) the party against whom

collateral estoppel is asserted must have had a full and fair opportunity to litigate the

issue in the prior litigation.” McCulley v. Bank of America, N.A., 2015 WL 1474532,

at *3 (11th Cir. April 2, 2015) (citation omitted).

      Here, Plaintiff cannot dispute that she did or could have litigated all of these

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claims in the Prior Lawsuits. Plaintiff has actually raised all of these arguments in

her Prior Lawsuits and numerous separate courts have found that the claims lack

merit. As a result, Plaintiff may not re-litigate the same issues under any possible

cause of action due to collateral estoppel. Id. In the pending case, (1) the issues are

similar to Hill #1-12; (2) the actions in Hill #1, Hill # 4, Hill #6, Hill # 8, Hill # 10,

Hill # 11, and Hill #12 were all dismissed with prejudice; (3) Ms. Hill is again the

Plaintiff; and (4) whether or not there were issues with the Loan origination, transfer,

or whether Defendants properly serviced the Loan, were actually litigated and

decided in the Prior Lawsuits.

      In a similar vein, Plaintiff’s Complaint is due to be dismissed under the “two

dismissal rule.” Pursuant to Fed. R. Civ. P. 41(a)(1)(B), “if the plaintiff previously

dismissed any federal- or state-court action based on or including the same claim, a

dismissal operates as an adjudication on the merits.” Here, Plaintiff has voluntarily

dismissed multiple actions before relating to the same Loan and same Property. See

Sealey v. Branch Banking and Trust Co., 693 Fed.Appx. 830, 834 (11th Cir. 2017)

(affirming dismissal based on two-dismissal rule under Rule 41 and stating “[w]e

have said that the primary purpose of the two-dismissal rule is to prevent

unreasonable abuse of the plaintiff’s unilateral right to dismiss an action”) (internal

citations omitted); Beckman v. Bank of America, N.A., No. 1:14-cv-2675-ODE-JFK,

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2015 WL 11578509, at *4-5 (N.D. Ga. Jan. 27, 2015), adopted 2015 WL 11605516

(Mar. 4, 2015) (dismissing complaint based on two dismissal rule).

      Accordingly, this Court should dismiss the Plaintiff’s Complaint with

prejudice since it is barred by the collateral estoppel doctrine.

   C. Plaintiff’s Complaint Fails To Comply With Rule 8(a).

      As discussed above, Plaintiff fails to state any claim for relief under any

recognized cause of action, and pleads only bald legal conclusions without factual

support sufficient to raise any right to relief above a speculative level. As a result,

the Complaint should be dismissed with prejudice under Rule 12(b)(6) and Rule 8.

      In order to avoid dismissal, a complaint must contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

8(a). “Fed. R. Civ. P. 8 marks a notable and generous departure from the hyper-

technical, code-pleading regime of a prior era, but it does not unlock the doors of

discovery for a plaintiff armed with nothing more than conclusions.” Ashcroft, 129

S. Ct. at 1950; see also Bell Atlantic Corp., 550 U.S. at 555.

      Here, Plaintiff has not satisfied the foregoing pleading requirements. The

Complaint relies on excessive legal conclusions without connecting any facts to the

conclusions and fails to set forth a comprehensible claim against Defendants. The

Complaint fails to identify specific factual matters that would support each claim

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and, thus, Defendants are left to sift through the multitude of paragraphs of irrelevant

allegations to determine those that might relate in some way to a claim for relief.

This mass of allegations leaves Defendants unsure if those allegations relate to a

cause of action and need to be addressed. Also, Plaintiff does not identify which

counts the Complaint are alleged against each specific defendant. As a result, the

Complaint should be dismissed with prejudice under Rule 12(b)(6) and Rule 8.

   D. Plaintiff’s Complaint Fails To State A Claim For Declaratory Relief.

      Notwithstanding, the undersigned will address the most cognizable of

Plaintiff’s claims contained in the Complaint, to the extent there are any such claims.

In the Complaint, Plaintiff seeks a declaration that the Loan, the Security Deed, and

the Assignment are void. [Doc. 1-1, ¶ 13]. The requested relief is meritless.

      In Georgia, a claim for declaratory relief will only survive dismissal if the

facts or circumstances are pled showing a necessity to “protect the plaintiff from

uncertainty and insecurity with regard to the propriety of some future act or conduct

which is properly incident to the plaintiff’s alleged rights and which future action,

without such directions, might reasonably jeopardize the plaintiff’s interest”

Henderson v. Alverson, 217 Ga. 541, 123 S.E.2d 721 (1962). Thus, to properly

pursue a declaratory judgment under Georgia law “[a] party must establish that [a

declaratory judgment] is necessary to relieve himself of the risk of taking some

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future action that, without direction, would jeopardize his interests.” Porter v.

Houghton, 542 S.E.2d 491, 492 (Ga. 2001). Further, no declaratory judgment may

be obtained which merely answers a moot or abstract question. Shippen v. Folsom,

200 Ga. 58, 35 S.E.2d 915 (1945). Declaratory relief is intended “[t]o settle and

afford relief from uncertainty and insecurity with respect to rights, status, and other

legal relations.” O.C.G.A. § 9-4-1. “[W]here the rights of the parties have already

accrued and there are no circumstances showing any necessity for a determination

of the dispute to guide and protect the plaintiff from uncertainty and insecurity with

regard to the propriety of some future act or conduct, which is properly incident to

his alleged rights and which if taken without direction might reasonably jeopardize

his interest, the plaintiff is not entitled to a declaratory judgment.” State Farm Mut.

Auto. Ins. Co. v. Hillhouse, 131 Ga. App. 524 (1974).

      Here, no uncertainty exists about any future action by Plaintiff or Defendants.

Plaintiff certainly has litigated these issues and multiple courts and judges, including

an appellate panel have signed off on the lack of merit of her underlying claims.

Therefore, on the facts of this case, a declaratory judgment in unavailable because

all material rights have accrued based upon past events and what Plaintiff seeks is

an advisory opinion on the validity of the future act of Defendants. See Logan Paving

Co. v. Peoples Bank & Trust, 395 S.E.2d 287, 289 (Ga. Ct. App. 1990). As such,

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Plaintiffs’ claim for declaratory relief is subject to dismissal for failure to state a

claim upon which relief can be granted.

   E. Plaintiff’s Complaint Fails To State A Claim For Quiet Title.

       Plaintiff’s Complaint also seeks to quiet title to the Property in her name.

[Doc. 1-1, ¶¶ 14, 15]. The count of the Complaint is similarly meritless.

          a. Plaintiff Fails To Properly Plead A Quiet Title Claim

      Plaintiff has not satisfied the strict requirements to maintain an action under

the Georgia Quiet Title Act (O.C.G.A. § 23–3–40 et seq.). The Georgia Quiet Title

Act sets forth the circumstances in which title to real estate may be quieted. Id. The

statues are definite as to what facts must be pled and what procedural requirements

are mandated to proceed under such theories. Contrary to these statutes, Plaintiff

pleads only summary statements that she is entitled to an Order from this Court

quieting title to the Property in her name.

      In order for Plaintiff to prevail under a conventional quia timet theory,

pursuant to O.C.G.A. § 23-3-40 et seq. she must show:

     1.) That he cannot immediately or effectually maintain or protect his
     rights by any other course of proceeding open to him;
     2.) That the instrument sought to be canceled is such as would operate
     to throw a cloud or suspicion upon his title so that it might be vexatiously
     or injuriously used against him; and
     3.) That he either suffers some present injury by reason of the hostile
     claim of right or, though the claim has not been asserted adversely or
     aggressively, he has reason to apprehend that the evidence upon which
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     he relies to impeach or invalidate the same as a claim upon his title may
     be lost or impaired by lapse of time.
O.C.G.A. § 23-3-42.

      Here, since Plaintiff makes no allegations of fact in the Complaint that comes

close to meeting this statutory standard, Plaintiff is not entitled to relief pursuant to

O.C.G.A. § 23-3-40 et seq. Plaintiff has not sufficiently alleged that she claims an

interest in the Property that would be superior to the various defendants, and she has

not sufficiently alleged that she suffered any injury as a result of the Security Deed

or Assignment being recorded in the deed records. (True and correct copies of the

Security Deed and Assignment are attached hereto as Exhibit “13,” and are

incorporated herein by this reference.)2 Plaintiff would suffer no prejudice as she

sought and received a Loan to fund the purchase of the Property. The only parties

suffering are Defendants as they are forced to defend this frivolous lawsuit, therefore




2
 This Court may take judicial notice of public records and may consider them on a
motion to dismiss, without converting this motion into one for summary judgment.
See Fed. R. Evid. 201; Huff v. Macon Behavioral Health Treatment, 2012 U.S. Dist.
LEXIS 54413, at *1 n.1 (M.D. Ga. Apr. 18, 2012); Universal Express, Inc. v. United
States SEC, 177 Fed. Appx. 52, 53 (11th Cir. 2006) (stating that “[p]ublic records
are among the permissible facts” of which a court may take judicial notice). The
Court may also look to documents attached to the Complaint and those incorporated
by reference without converting a Rule 12(b)(6) motion into a Rule 56 motion for
summary judgment. See Day v. Taylor, 400 F.3d 1272, 1275-76 (11th Cir. 2005);
Arango v. U.S. Dep’t of the Treasury, 115 F.3d 922, 923 n.1 (11th Cir. 1997); Harris
v. Ivax Corp., 182 F.3d 799, 802 n.2 (11th Cir. 1999).
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this Court should hold that Plaintiff has failed to state a claim to quiet title to the

Property in herself, and should dismiss Plaintiff’s Complaint.

          b. Plaintiff Cannot Establish That She Has Current Title.

      Additionally, a plaintiff pursuing a quiet title action in Georgia “must assert

that he holds some current record title or current prescriptive title, in order to

maintain his suit.” Milani v. One W. Bank FSB, 491 F. App’x 977, 980 (11th Cir.

2012). In Milani, the Eleventh Circuit addressed a similar quiet title claim pled in a

wrongful foreclosure lawsuit. The Court noted that the plaintiff “signed over legal

title to the property when he signed the pertinent security deed” and his quiet title

claim “is premised on [the defendant]’s title having a fatal defect.” Id.; see also

United States v. Fleet Factors Corp., 821 F. Supp. 707, 725 n. 49 (S.D. Ga. 1993)

(“Georgia is a ‘title theory’ state; when a creditor takes a security interest in land it

receives actual title to that land through a deed to secure debt.”). “The failure of

Plaintiff’s complaint to state sufficiently a claim for wrongful foreclosure impacts

on Plaintiff’s quiet title claim.” Id. See also Fenello v. Fam. First Mortg., Inc., No.

113CV01139JECJFK, 2013 WL 12382344, at *4 (N.D. Ga. Dec. 17, 2013)

(“Plaintiffs do not hold current record title or current prescriptive title to their

Dunwoody property because ‘[l]egal title passed to the lender [FFMI] from [the

Fenellos] when the deed to secure debt was created, and the owner, [the Fenellos],

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ha[ve] a mere equity of redemption and right of possession of the realty until the

secured debt has been satisfied in full.’”); McCarter v. Bankers Trust Co., 247 Ga.

App. 129, 132, 543 S.E.2d 755, 757 (2000) (“Legal title passed to the lender from

[the plaintiff] when the deed to secure debt was created, and the owner, [the

plaintiff], has a mere equity of redemption and right of possession of the realty until

the secured debt has been satisfied in full.”).

      Here, as a matter of law, Plaintiff is not entitled to quiet title because she does

not have current title under Georgia law due to her execution of the subject Security

Deed. 3 Thus, the Court should deny Plaintiff’s quiet title claim for this reason alone.

          c. Plaintiff’s Failure to Tender is Fatal to Her Quiet Title Claim.

      Finally, Plaintiff’s failure to tender on her Loan is fatal to her quiet title claim.

This Court has previously held that a borrower’s failure to tender on her loan is fatal

to her quiet title claim in Walker v. JPMorgan Chase Bank, N.A., 987 F. Supp. 2d

1348, 1354 (N.D. Ga. 2013). In Walker, the court held that:

      The Walkers seek equitable relief quieting title to the property. See
      O.C.G.A. § 23–3–40. One of the oldest and most favored maxims of

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 This Court may take judicial notice of public records and may consider them on a
motion to dismiss, without converting this motion into one for summary judgment.
See Fed. R. Evid. 201; Huff v. Macon Behavioral Health Treatment, 2012 U.S. Dist.
LEXIS 54413, at *1 n.1 (M.D. Ga. Apr. 18, 2012); Universal Express, Inc. v. United
States SEC, 177 Fed. Appx. 52, 53 (11th Cir. 2006); Day v. Taylor, 400 F.3d 1272,
1275-76 (11th Cir. 2005); Arango v. U.S. Dep’t of the Treasury, 115 F.3d 922, 923
n.1 (11th Cir. 1997); Harris v. Ivax Corp., 182 F.3d 799, 802 n.2 (11th Cir. 1999).
                                                                                        21
      equity is, “He who would have equity must do equity.” Id. § 23–1–10.
      And the Walkers have not done equity. Specifically, they have not
      repaid their note in full. The Georgia Supreme Court has held that “a
      plaintiff may not use equity to obtain the cancellation of a security deed
      or promissory note if the plaintiff has not paid the note or tendered
      payment of the note.” Taylor, Bean & Whitaker Mortg. Corp. v. Brown,
      276 Ga. 848, 583 S.E.2d 844, 846 (2003). Thus, JPMorgan is entitled
      to summary judgment on the Walkers' quiet-title claim.

Walker v. JPMorgan Chase Bank, N.A., 987 F. Supp. 2d 1348, 1354 (N.D. Ga.

2013). See also Fenello v. Fam. First Mortg., Inc., No. 113CV01139JECJFK, 2013

WL 12382344, at *5 (N.D. Ga. Dec. 17, 2013) (“Plaintiffs allege only that they do

not have to tender payment; they have not paid or offered to pay the debt for which

the Security Deed was given. Therefore, Plaintiffs do not have standing to bring and

have not stated a claim for quiet title relief.”)

      Here, Plaintiff’s failure to allege tender on her Loan is fatal to her quiet title

claim. Thus, Plaintiff’s quiet title claim should be dismissed with prejudice.

   F. Plaintiff’s Complaint Fails To State A Claim For Redemption.

       Plaintiff’s Complaint also seeks to redeem the Property. [Doc. 1-1, ¶¶ 11,

12]. The count of the Complaint is meritless. In the Complaint, Plaintiff alleges that

“[t]he equity of redemption expired and no person with right, title, or interest

tendered or paid to Petitioner the monetary amount provided for redemption under

O.C.G.A § 48-4-42.” [Doc. 1-1, ¶ 11]. O.C.G.A § 48-4-42 specially relates to

“redemption of property from any sale for taxes” and states as follows:
                                                                                     22
      (a) The amount required to be paid for redemption of property from any
      sale for taxes as provided in this chapter shall with respect to any sale
      made after July 1, 2002, be the amount paid for the property at the tax
      sale, as shown by the recitals in the tax deed, plus:
             (1) Any taxes paid on the property by the purchaser after the sale
             for taxes;
             (2) Any special assessments on the property; and
             (3) A premium of 20 percent of the amount for the first year or
             fraction of a year which has elapsed between the date of the sale
             and the date on which the redemption payment is made and 10
             percent for each year or fraction of a year thereafter.
      (b) If redemption is not made until more than 30 days after the notice
      provided for in Code Section 48-4-45 has been given, there shall be
      added to the sums set forth in subsection (a) of this Code section the
      sheriff's cost in connection with serving the notice and the cost of
      publication of the notice, if any.
      (c) With respect to any sale made after July 1, 2016, there shall be added
      to the sums set forth in subsections (a) and (b) of this Code section any
      sums:
             (1) Paid from the date of the tax sale to the date of redemption to
             a property owners' association, as defined in Code Section 44-3-
             221, in accordance with Code Section 44-3-232;
             (2) Paid to a condominium association, that is an association, as
             defined in Code Section 44-3-71, in accordance with Code
             Section 44-3-109; or
             (3) Paid to a homeowners' association established by covenants
             restricting land to certain uses related to planned residential
             subdivisions.
      (d) All of the amounts required to be paid by this Code section shall be
      paid in lawful money of the United States to the purchaser at the tax
      sale or to the purchaser's successors.

O.C.G.A. § 48-4-42.

       Plaintiff’s claim to redeem the Property is meritless. Plaintiff does not allege

that the Property was sold at a County tax sale or that she purchased the Property at

                                                                                    23
a County tax sale. This is because no County tax sale of the Property has occurred,

and Plaintiff has not purchased the Property at a County tax sale. [Doc. 1, Ex. C].

Therefore, Plaintiff’s claim to redeem the Property should be dismissed.

   G. Plaintiff’s Complaint Fails To State A Claim For Damages and

      Attorney’s Fees.

      Finally, Plaintiff is not entitled to recover any damages. [Doc. 1-1, p. 4].

Plaintiff is not entitled to compensatory damages since, as stated supra, all of

Plaintiff’s substantive claims fail as a matter of law. To the extent Plaintiff is alleging

claims for attorney’s fees, an award of attorney’s fees is derivative of whether the

Plaintiff prevails on its substantive claims. See J. Andrew Lunsford Properties, LLC

v. Davis, 257 Ga. App. 720, 722 (2002). Because Plaintiff’s substantive claims must

be dismissed for failure to state a claim as a matter of law, Plaintiff’s derivative claim

for attorney’s fees also must be dismissed.

                                IV.    CONCLUSION

      Thus, the Court should grant Defendants’ Motion to Dismiss and dismiss this

lawsuit with prejudice since Plaintiff’s claims all fail as a matter of law.

      This 17th day of September, 2021.

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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JANET HILL,                                  )
                                             )
      Plaintiff,                             )
                                             )         CIVIL ACTION FILE
v.                                           )         NO. 1:21-cv-03750-WMR
                                             )
COMMUNITY LOAN SERVICING f/k/a               )
BAYVIEW LOAN SERVICING, and                  )
SHELLPOINT MORTGAGE                          )
SERVICING,                                   )
                                             )
      Defendants.                            )
                                             )

           CERTIFICATE OF SERVICE, FONT AND MARGINS

      I hereby certify that on the undersigned date, I electronically filed the

foregoing MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S

MOTION TO DISMISS PLAINTIFF’S COMPLAINT with the Clerk of the Court

using the CM/ECF System, which will electronically deliver a copy to counsel of

record, and served a true and correct copy of same on the undersigned individual(s)

via First-Class Mail, postage prepaid, addressed to:

                               Ricardo Mosby, Esq.
                            The Mosby Law Firm PC
                          260 Peachtree Street Suite 1403
                                Atlanta, GA 30303
                               Counsel for Plaintiff

                                                                                26
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                        Birmingham, Alabama 35203
    Counsel for Defendant NewRez LLC d/b/a Shellpoint Mortgage Servicing

      I further certify that I prepared this document in 14 point Times New Roman

font and complied with the margin and type requirements of this Court.

      This 17th day of September, 2021.

                                     /s/ Allison Rhadans
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